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EXHIBIT “C”

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CENTRAL INTELLIGENCE AGENCY

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Introduction

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People
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Transnational Issues

This page was last updated on 15 April, 2008

a NL.

Caspian / \ ce ‘o—

AZER fi Sea
we * TURKMENISTAN |
elabriz
%: ane (imla aa yo
Now Shagr a

— Mashhad,
TEHRAN, oe
,aom

*Kermanshah

,Deztal &Sfahan

SAUDI
ARABIA

0 100 200ien

100 20mis) 7 eg ‘

Legend: Ch Definition Field Listing (tn Rank Order
Introduction lran Top of Page

Background: [7}

Known as Persia until 1935, Iran became an Islamic republic in 1979 after the
ruling monarchy was overthrown and the shah was forced into exile.
Conservative clerical forces established a theocratic system of government with

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CIA - The World Fe@Seok O8hae-80030-JSW Document 26-6 Filed 05/01/08 Page 3 of 16 Page 2 of 15

Geography

ultimate political authority vested in a learned religious scholar referred to
commonly as the Supreme Leader who. according to the constitution, is
accountable only to the Assembly of Experts. US-Iranian relations have been
strained since a group of Iranian students seized the US Embassy in Tehran on 4
November 1979 and held it until 20 January 1981. During 1980-88, Iran fought a
bloody. indecisive war with Iraq that eventually expanded into the Persian Gulf
and led to clashes between US Navy and Iranian military forces between 1987
and 1988. Iran has been designated a state sponsor of terrorism for its activities
in Lebanon and elsewhere in the world and remains subject to US and UN
economic sanctions and export controls because of its continued involvement in
terrorism and conventional weapons proliferation. Following the election of
reformer Hojjat ol-Eslam Mohammad KHATAML as president in 1997 and
similarly a reformer Majles (parliament) in 2000. a campaign to foster political
reform in response to popular dissatisfaction was initiated. The movement
floundered as conservative politicians, through the control of unelected
institutions, prevented reform measures from being enacted and increased
repressive measures. Starting with nationwide municipal elections in 2003 and
continuing through Majles elections in 2004. conservatives reestablished control
over Iran's elected government institutions, which culminated with the August
2005 inauguration of hardliner Mahmud AHMADI-NEJAD as president. In
December 2006 and March 2007, the international community passed resolutions
1737 and 1747 respectively after Iran failed to comply with UN demands to halt
the enrichment of uranium or to agree to full IAEA oversight of its nuclear
program. In October 2007. Iranian entities were also subject to US sanctions
under EO 13382 designations for proliferation activities and EO 13224
designations for providing material support to the Taliban and other terrorist
organizations.

lran Top of Page

Location: []

Middle East. bordering the Gulf of Oman, the Persian Gulf, and
the Caspian Sea. between Iraq and Pakistan

Geographic coordinates: []

32 00 N.5300E

Map references: (CY)

Middle East

Area: (7 Dain

total: 1.648 million sq km
land: 1.636 million sq km
water: 12,000 sq km

Area - comparative: ({)

slightly larger than Alaska

Land boundaries: [1]

total: 5,440 km

border countries: Afghanistan 936 km. Armenia 35 km.
Azerbaijan-proper 432 km. Azerbaijan-Naxcivan exclave 179 km,
Iraq 1.458 km. Pakistan 909 km. Turkey 499 km, Turkmenistan
992 km

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Coastline:

Maritime claims:

Climate:

Terrain:

Elevation extremes:

Natural resources:

Land use:

Irrigated land:

Total renewable water resources:

Freshwater withdrawal
(domestic/industrial/agricultural):

Natural hazards:

Environment - current issues:

Environment - international
agreements:

Oo
2.440 km; note - Iran also borders the Caspian Sea (740 km)

Ct) GE:

territorial sea: 12 nm

contiguous zone: 24 nm

exclusive economic zone: bilateral agreements or median lines in
the Persian Gulf

continental shelf: natural prolongation

Oo

mostly arid or semiarid. subtropical along Caspian coast

Mm

rugged, mountainous rim: high, central basin with deserts.
mountains; small. discontinuous plains along both coasts

Cty £2)

lowest point: Caspian Sea -28 m
highest point: Kuh-e Damavand 5.671 m

me

petroleum. natural gas. coal, chromium, copper. iron ore, lead,
manganese. zinc, sulfur

Ch

arable land: 9.78%
permanent crops: 1.29%
other: 88.93% (2005)

a
76,500 sq km (2003)

OO

137.5 cu km (1997)

co

total: 72.88 cu km/yr (7%/2%/9 1%)
per capita: 1.048 cu m/yr (2000)
oO

periodic droughts. floods; dust storms, sandstorms: earthquakes

Mm

air pollution, especially in urban areas. from vehicle emissions.
refinery operations. and industrial effluents: deforestation;
overgrazing: desertification: oil pollution in the Persian Gulf:
wetland losses from drought; soil degradation (salination);
inadequate supplies of potable water: water pollution from raw
sewage and industrial waste: urbanization

Ch ES)

party to: Biodiversity, Climate Change, Climate Change-Kyoto
Protocol. Desertification, Endangered Species, Hazardous Wastes,

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Marine Dumping. Ozone Layer Protection. Ship Pollution.

Wetlands

signed, but not ratified: Environmental Modification. Law of the

Sea, Marine Life Conservation

Geography - note: [Y)
strategic location on the Persian Gulf and Strait of Hormuz, which

People

Population:

Age structure:

Median age:

Population growth
rate:

Birth rate:

Death rate:

Net migration rate:

Sex ratio:

Infant mortality
rate:

Life expectancy at
birth:

Total fertility rate:

are vital maritime pathways for crude oil transport

lran .
fh (lun
65.875.223 (July 2008 est.)
th

0-14 years: 22.3% (male 7.548.116/female 7.164.921)
15-64 years: 72.3% (male 24.090.976/female 23.522,861)
65 years and over: 5.4% (male 1,713,533/female 1.834.816) (2008 est.)

Mm

total: 26.4 years
male: 26.2 years
female: 26.7 years (2008 est.)

nh
0.792% (2008 est.)

Ch {itn
16.89 births/1.000 population (2008 est.)

TO lan
5.69 deaths/1,000 population (2008 est.)

CY)

-3.28 migrant(s)/1.000 population (2008 est.)
on

at birth: 1.05 male(s)/female

under 15 years: 1.05 male(s)/temale

15-64 years: 1.02 male(s)/female

65 years and over: 0.93 male(s)/female
total population: 1.03 male(sfemale (2008 est.)

CO ES) On

total: 36.93 deaths/1,000 live births
male: 37.12 deaths/1.000 live births
female: 36.73 deaths/1.000 live births (2008 est.)

CO C2) Din

total population: 70.86 years
male: 69.39 years
female: 72.4 years (2008 est.)

CO Ee) Os

https://www.cia.gov/library/publications/the-world-factbook/geos/ir.html

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CIA - The World KaathmdkG8inan-80030-JSW Document 26-6 Filed 05/01/08 Page 6 of 16 Page 5 of 15

1.71 children born/woman (2008 est.)
HIV/AIDS - adult (J On

prevalence rate: 0.2% (2005 est.)

HIV/AIDS - people (7) lan
living with
HIV/AIDS: 66.000 (2005 est.)

HIV/AIDS - deaths: (7) Dan
1.600 (2005 est.)

Major infectious (Y]

diseases: oo, .
degree of risk: intermediate

food or waterborne diseases: bacterial diarrhea and hepatitis A

vectorborne diseases: Crimean Congo hemorrhagic fever and malaria

note: highly pathogenic HSN] avian influenza has been identified in this
country: it poses a negligible risk with extremely rare cases possible among US
citizens who have close contact with birds (2008)

Nationality: (QQ

noun: Iranian(s)
adjective: Iranian

Ethnic groups: CY]

Persian 51%. Azeri 24%, Gilaki and Mazandarani 8%. Kurd 7%, Arab 3%, Lur
29. Baloch 2%. Turkmen 2%, other 1%

Religions: (J

Muslim 98% (Shi'a 89%, Sunni 9%). other (includes Zoroastrian. Jewish.
Christian, and Baha'i) 2%

Languages: (7)

Persian and Persian dialects 58%. Turkic and Turkic dialects 26%, Kurdish 9%.
Luri 2%. Balochi 1%, Arabic 1%. Turkish 1%. other 2%

Literacy: (Q]

definition: age 15 and over can read and write
total population: 77%

male: 83.5%

female: 70.4% (2002 est.)

Government Iran Top of Page

Country name: (1)

conventional long form: Islamic Republic of Iran
conventional short form: Iran

local long form: Jomhuri-ye Eslami-ye Iran
local short form: Iran

former: Persia

Government type: [{)
theocratic republic

Capital: (J)

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Administrative
divisions:

Independence:

National holiday:

Constitution:

Legal system:

Suffrage:

Executive branch:

name: Tehran

geographic coordinates: 35 40N.51 25E

time difference: UTC+3.5 (8.5 hours ahead of Washington. DC during Standard
Time)

Ch ES]

30 provinces (ostanha. singular - ostan): Ardabil. Azarbayjan-e Gharbi,
Azarbayjan-e Sharqi. Bushehr, Chahar Mahal! va Bakhtiari. Esfahan, Fars, Gilan.
Golestan, Hamadan, Hormozgan, Ilam. Kerman, Kermanshah, Khorasan-e
Janubi. Khorasan-e Razavi. Khorasan-e Shemali. Khuzestan. Kohgiluyeh va
Buyer Ahmad. Kordestan, Lorestan, Markazi, Mazandaran, Qazvin, Qom,
Semnan. Sistan va Baluchestan. Tehran. Yazd. Zanjan

oh
1 April 1979 (Islamic Republic of Iran proclaimed)

ne
Republic Day. 1 April (1979)

CE)

2-3 December 1979; revised 1989 to expand powers of the presidency and
eliminate the prime ministership

me

based on Sharia law system; has not accepted compulsory [CJ jurisdiction

me

16 years of age; universal

Cll Ee)

chief of state: Supreme Leader Ali Hoseini-KHAMENEI (since 4 June 1989)
head of government: President Mahmud AHMADI-NEJAD (since 3 August
2005): First Vice President Parviz DAVUDI (since 11 September 2005)

cabinet: Council of Ministers selected by the president with legislative approval:
the Supreme Leader has some control over appointments to the more sensitive
ministries

note: also considered part of the Executive branch of government are three
oversight bodies: |) Assembly of Experts (Majles-Khebregan), a popularly
elected body of 86 religious scholars constitutionally charged with determining
the succession of the Supreme Leader (based on his qualifications in the field of
jurisprudence and commitment to the principles of the revolution), reviewing his
performance, and deposing him if deemed necessary; 2) Expediency Council or
the Council for the Discernment of Expediency (Majma-e-Tashkise-Maslahat-e-
Nezam), is a policy advisory and implementation board consisting of over 40
permanent members representing all major government factions and includes the
heads of the three branches of government, and the clerical members of the
Council of Guardians (see next): permanent members are appointed by the
Supreme Leader for five-year terms; temporary members. including Cabinet
members and Majles committee chairmen, are selected when issues under their
jurisdiction come before the Expediency Council: the Expediency Council exerts
supervisory authority over the executive, judicial, and legislative branches and
resolves legislative issues on which the Majles and the Council of Guardians
disagree and since 1989 has been used to advise national religious leaders on
matters of national policy: in 2005 the Council's powers were expanded, at least

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Legislative branch:

Judicial branch:

Political parties
and leaders:

on paper, to act as a supervisory body for the government: 3) Council of
Guardians of the Constitution or Council of Guardians or Guardians Council
(Shora-ye Negaban-e Qanun-e Assassi) is a 12-member board made up of six
clerics chosen by the Supreme Leader and six jurists recommended by the
judiciary (which is controlled by the Supreme Leader) and approved by the
Majles from a list of candidates recommended by the judiciary (which in turn is
controlled by the Supreme Leader) for six-year terms: this Council determines
whether proposed legislation is both constitutional and faithful to Islamic law.
vets candidates for suitability. and supervises national elections

elections: Supreme Leader appointed for life by the Assembly of Experts:
Assembly of Experts elected by popular vote for an eight-year term: last election
held 15 December 2006 concurrently with municipal elections: Hojjat ol-Eslam
Ali Akbar RAFSANJANI was elected Speaker in September 2007. following the
July death of former Speaker Ayatollah Ali Akbar Meshkini-Qomi: president
elected by popular vote for a four-year term (eligible for a second term and third
nonconsecutive term): last held 17 June 2005 with a two-candidate runoff on 24
June 2005 (next presidential election slated for 2009)

election results: Mahmud AHMADI-NEJAD elected president: percent of vote -
Mahmud AHMADI-NEJAD 62%. Ali Akbar Hashemi-RAFSANJANI 36%

mM

unicameral Islamic Consultative Assembly or Majles-e-Shura-ye-Eslami or
Majles (290 seats: members elected by popular vote to serve four-year terms)
elections: last held 20 February 2004 with a runoff held 7 May 2004 (next to be
held in March 2008)

election results: percent of vote - NA: seats by party - conservatives/Islamists
190. reformers 50, independents 45, religious minorities 5

mM

The Supreme Court (Qeveh Qazaieh) and the four-member High Council of the
Judiciary have a single head and overlapping responsibilities; together they
supervise the enforcement of all laws and establish judicial and legal policies:
lower courts include a special clerical court, a revolutionary court. and a special
administrative court

Ct Cf

formal political parties are a relatively new phenomenon in Iran and most
conservatives still prefer to work through political pressure groups rather than
parties. and often political parties or coalitions are formed prior to elections and
disbanded soon thereafter: a loose pro-reform coalition called the 2nd Khordad
Front, which includes political parties as well as less formal groups and
organizations. achieved considerable success at elections to the sixth Majles in
early 2000; groups in the coalition include: Islamic Iran Participation Front
(IIPF), Executives of Construction Party (Kargozaran), Solidarity Party. Islamic
Labor Party. Mardom Salari, Mojahedin of the Islamic Revolution Organization
(MIRO), and Militant Clerics Society (Ruhaniyun); the coalition participated in
the seventh Majles elections in early 2004; following his defeat in the 2005
presidential elections, former MCS Secretary General and sixth Majles Speaker
Mehdi KARUBI formed the National Trust Party; a new conservative group,
Islamic Iran Developers Coalition (Abadgaran), took a leading position in the
new Majles after winning a majority of the seats in February 2004: following the
2004 Majles elections. traditional and hardline conservatives have attempted to
close ranks under the United Front of Principlists: the [IPF has repeatedly

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complained that the overwhelming majority of its candidates have been unfairly
disqualified from the 2008 elections

Political pressure (CY)

d
or adere: the Islamic Republic Party (IRP) was Iran's sole political party until its

dissolution in 1987: Iran now has a variety of groups engaged in political
activity; some are oriented along political lines or based on an identity group:
others are more akin to professional political parties seeking members and
recommending candidates for office: some are active participants in the
Revolution's political life while others reject the state; political pressure groups
conduct most of Iran's political activities; groups that generally support the
Islamic Republic include Ansar-e Hizballah, Followers of the Line of the [mam
and the Leader. Islamic Coalition Party (Motalefeh), Islamic Engineers Society,
and Tehran Militant Clergy Association (Ruhaniyat): active pro-reform student
groups include the Office of Strengthening Unity (OSU); opposition groups
include Freedom Movement of Iran, the National Front. Marz-e Por Gohar.
Baluchistan People’s Party (BPP). and various ethnic and Monarchist
organizations; armed political groups that have been repressed by the
government include Democratic Party of Iranian Kurdistan (KDPI). Komala.
Mujahidin-e Khalq Organization (MEK or MKO). People's Fedayeen., Jundallah,
and the People's Free Life Party of Kurdistan (PJAK)

International (Qj

ation
participation: ABEDA, CP. ECO, FAO. G-24. G-77. IAEA. IBRD, ICAO. ICC. ICCt

(signatory). ICRM. IDA. IDB, IFAD. IFC. IFRCS. THO, ILO. IMF. IMO. IMSO.
Interpol. IOC. IOM, IPU, ISO. ITSO. ITU, MIGA. NAM, OIC, OPCW, OPEC.
PCA. SAARC. SCO (observer). UN, UNCTAD. UNESCO, UNHCR. UNIDO,
UNMEE. UNWTO. UPU, WCL. WCO, WFTU. WHO, WIPO. WMO, WTO
(observer)

Diplomatic (]

representation in . . .
the US: None: note - Iran has an Interests Section in the Pakistani Embassy: address:

Iranian Interests Section. Pakistani Embassy. 2209 Wisconsin Avenue NW.
Washington. DC 20007: telephone: [1] (202) 965-4990; FAX [1] (202) 965-1073
Diplomatic []

representation . . . .
from the US: None: note - the American Interests Section is located in the Swiss Embassy

compound at Africa Avenue, West Farzan Street, number 59. Tehran. Iran;
telephone 021 8878 2964 or 021 8879 2364: FAX 021 8877 3265

Flag description: (7)

three equal horizontal bands of green (top), white. and red: the national emblem
(a stylized representation of the word Allah in the shape of a tulip. a symbol of
martyrdom) in red is centered in the white band: ALLAH AKBAR (God is
Great) in white Arabic script is repeated 11 times along the bottom edge of the
green band and 11 times along the top edge of the red band

Economy Iran Top of Page
Economy- (
overview:

Iran's economy is marked by an inefficient state sector. reliance on the oil sector
(which provides 85% of government revenues). and statist policies that create
major distortions throughout. Most economic activity is controlled by the state.
Private sector activity is typically small-scale workshops. farming, and services.

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GDP (purchasing
power parity):

GDP (official
exchange rate):

GDP - real growth
rate:

GDP - per capita
(PPP):

GDP - composition
by sector:

Labor force:

Labor force - by
occupation:

Unemployment
rate:

Population below
poverty line:

Household income
or consumption by
percentage share:

Distribution of
family income -
Gini index:
Inflation rate
(consumer prices):

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President Mahmud AHMADI-NEJAD failed to make any notable progress in
fulfilling the goals of the nation’s latest five-year plan. A combination of price
controls and subsidies, particularly on food and energy, continue to weigh down
the economy, and administrative controls. widespread corruption, and other
Tigidities undermine the potential for private-sector-led growth. As a result of
these inefficiencies. significant informal market activity flourishes and shortages
are common. High oil prices in recent years have enabled Iran to amass nearly
$70 billion in foreign exchange reserves. Yet this increased revenue has not
eased economic hardships. which include double-digit unemployment and
inflation. The economy has seen only moderate growth. Iran's educated
population, economic inefficiency and insufficient investment - both foreign and
domestic - have prompted an increasing number of Iranians to seek employment
overseas. resulting in significant "brain drain."

CI ES) (is

$852.6 billion (2007 est.)
OW

$278.1 billion (2007 est.)
Ch ES) Dm

4.3% (2007 est.)
COE) Oto

$12.300 (2007 est.)

Co |

agriculture: 11%
industry: 45.3%
services: 43.79% (2007 est.)

CH) ES) Qs

28.7 million
note: shortage of skilled labor (2006 est.)

me

agriculture: 25%
industry: 31%
services: 45% (June 2007)

Ch Qin

11% according to the Iranian government (June 2007)
CO CE

18% (2007 est.)

Ch

lowest 10%: 2%
highest 10%: 33.7% (1998)

OO
43 (1998)

CE) Om

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17% (July 2007 est.)

Investment (gross (Y) Qn
fixed):
Key 7% of GDP (2007 est.)
Budget: (7)

revenues: $64 billion
expenditures: $64 billion (2007 est.)

Public debt: (1) (ls
23.2% of GDP (2007 est.)

Agriculture - (1)
products: . . . .
wheat, rice, other grains. sugar beets. sugar cane, fruits. nuts. cotton: dairy

products. wool: caviar

Industries: (Y)

petroleum. petrochemicals. fertilizers, caustic soda. textiles, cement and other

construction materials, food processing (particularly sugar refining and vegetable

oil production), ferrous and non-ferrous metal fabrication. armaments

Industrial (¥) (an

roduction growth
Poocnren ooete, 4.8% excluding oil (2007 est.)

Electricity - CY] [an
production: .
170.4 billion kWh (2005)

Electricity- CQ) (lan
consumption: .
136.2 billion kWh (2005)

Electricity - (Q

exports:
2.761 billion kWh (2005)

Electricity - (QJ
imports: a
2.074 billion kWh (2005)

Oil - production: [J Qa
4.15 million bbI/day (2006 est.)

Oil- consumption: (Cj Olan
1.63 million bbI/day (2006 est.)

Oil - exports: CQ] (ln
2.52 million bbl/day (2006 est.)

Oil- imports: (7) (an

153,600 bbl/day (2004)
Oil- proved (Y) (an

reserves: . . .
132.5 billion bbl based on Iranian claims (1 January 2006 est.)

Natural gas- (J) Quan

production:
101 billion cu m (2005 est.)

Natural gas- (7) (mn

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consumption:

Natural gas -
exports:

Natural gas -
imports:

Natural gas -
proved reserves:

Current account
balance:

Exports:

Exports -
commodities:

Exports - partners:

Imports:

Imports -
commodities:

Imports - partners:

Economic aid -
recipient:

Reserves of
foreign exchange
and gold:

Debt - external:

Stock of direct
foreign investment
- at home:

Stock of direct
foreign investment
- abroad:

Market value of
publicly traded
shares:

Currency (code):

98.19 billion cu m (2005 est.)

Ch as

4,33 billion cu m (2005 est.)

==] (mn

5.8 billion cu m (2005)

th Qin

26.37 trillion cu m (1 January 2006 est.)
OS te

$19 billion (2007 est.)

CO Den

$76.5 billion f.0.b. (2007 est.)

CA

petroleum 80%. chemical and petrochemical products. fruits and nuts, carpets

Japan 14%, China 12.8%. Turkey 7.2%. Italy 6.3%. South Korea 6%.
Netherlands 4.6% (2006)

CO lin
$61.3 billion f.0.b. (2007 est.)
mo

industrial raw materials and intermediate goods. capital goods, foodstuffs and
other consumer goods, technical services

Lh

Germany 12.2%. China 10.5%. UAE 9.3%. France 5.6%. Italy 5.4%. South
Korea 5.4%, Russia 4.4% (2006)

Cl

$104 million (2005 est.)

Lh (ln

$69.2 billion (2007 est.)

CO (an

$13.8 billion (31 December 2007 est.)
Ct (lin

$4.345 billion (2006 est.)

Lh (lan

$138 million (2006 est.)

CH (lan
$45.2 billion (December 2007)

Co EF

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Exchange rates:

Fiscal year:

Communications

Telephones - main
lines in use:

Telephones -
mobile cellular:

Telephone system:

Radio broadcast
stations:

Television
broadcast stations:

Internet country
code:

Internet hosts:

Internet users:

Transportation

Airports:

Iranian rial (IRR)

CO

rials per US dollar - 9.407.5 (2007). 9,227.1 (2006), 8,964 (2005). 8.614 (2004).
8.193.9 (2003)

note: Iran has been using a managed floating exchange rate regime since
unifying multiple exchange rates in March 2002

ch
21 March - 20 March

Iran Top of Page

tL (lin
21.981 million (2006)

Ch) (len
13.659 million (2006)

th 2]

general assessment: currently being modernized and expanded with the goal of
not only improving the efficiency and increasing the volume of the urban service
but also bringing telephone service to several thousand villages. not presently
connected

domestic: the addition of new fiber cables and modern switching and exchange
systems installed by Iran's state-owned telecom company have improved and
expanded the main line network greatly; main line availability has more than
doubled to 22 million lines since 2000: additionally. mobile service has increased
dramatically serving nearly 13.7 million subscribers in 2006

international: country code - 98; submarine fiber-optic cable to UAE with access
to Fiber-Optic Link Around the Globe (FLAG); Trans-Asia-Europe (TAE) fiber-
optic line runs from Azerbaijan through the northern portion of Iran to
Turkmenistan with expansion to Georgia and Azerbaijan: HF radio and
microwave radio relay to Turkey, Azerbaijan, Pakistan, Afghanistan.
Turkmenistan, Syria, Kuwait, Tajikistan. and Uzbekistan; satellite earth stations -
13 (9 Intelsat and 4 Inmarsat) (2006)

Ch)

AM 72. FM 5. shortwave 5 (1998)
Ch

28 (plus 450 repeaters) (1997)

Ch

Jr

OH (lun

6.111 (2007)

CY) Qn

18 million (2006)

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tH (lun
331 (2007)
Airports - with (YJ

aved runways:
P YS otal: 129

over 3,047 m: 40
2,438 to 3,047 m: 28
1,524 to 2,437 m: 24
914 to 1,523 m: 32
under 914 m: 5 (2007)
Airports - with CZ

unpaved runways: total: 202
over 3,047 m: |
1,524 to 2,437 m: 10
914 to 1,523 m: 145
under 914 m: 46 (2007)

Heliports: ()
14 (2007)
Pipelines: (J)

condensate 7 km: condensate/gas 397 km; gas 19,161 km: liquid petroleum gas
570 km: oil 8,438 km; refined products 7.936 km (2007)

Railways: ({ (lap
total: 8.367 km
broad gauge: 94 km 1.676-m gauge
standard gauge: 8,273 km 1.435-m gauge (146 km electrified) (2006)
Roadways: (7) Dan
total: 179.388 km
paved: 120,782 km (includes 878 km of expressways)
unpaved: 58,606 km (2003)
Waterways: (1) Nao

850 km (on Karun River; additional service on Lake Urmia) (2006)

Merchant marine: (CQ) an

total: 131 ships (1000 GRT or over) 4.721.202 GRT/8,309.580 DWT
by type: bulk carrier 35, cargo 45. chemical tanker 4, container 9, liquefied gas |.
passenger/cargo 4. petroleum tanker 29, roll on/roll off 4
foreign-owned: | (UAE 1)
registered in other countries: 33 (Bolivia 1. Cyprus 2. Malta 24. Panama 4, St
Kitts and Nevis 1, St Vincent and The Grenadines 1) (2007)

Ports and (1)

terminals: .
Assaluyeh, Bandar Abbas. Bandar-e-Eman Khomeyni

Military lran Top of Page

Military branches: [

Islamic Republic of Iran Regular Forces (Artesh): Ground Forces. Navy, Air
Force of the Military of the Islamic Republic of Iran (Niru-ye Hava'i-ye Artesh-e

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Military service age
and obligation:

Manpower
available for
military service:

Manpower fit for
military service:

Manpower
reaching military
service age
annually:
Military
expenditures -
percent of GDP:

Transnational
Issues

Disputes -
international:

Refugees and
internally
displaced persons:

Trafficking in
persons:

Jomhuri-ye Eslami-ye Iran: includes air defense): Islamic Revolutionary Guard
Corps (Sepah-e Pasdaran-e Enqelab-e Eslami. IRGC): Ground Forces, Navy. Air
Force, Qods Force (special operations). and Basij Force (Popular Mobilization
Army); Law Enforcement Forces (2008)

mH

19 years of age for compulsory military service: 16 years of age for volunteers:
17 years of age for Law Enforcement Forces: 15 years of age for Basij Forces
(Popular Mobilization Army): conscript military service obligation - 18 months:
women exempt from military service (2008)

Ch Ee)

males age 18-49; 18.319.545
females age 18-49: 17.541.037 (2005 est.)

CO EI

males age 18-49: 15.665,725
females age 18-49; 15.005.597 (2005 est.)

fh E

males age 18-49: 862.056
females age 18-49: 808.044 (2005 est.)

ch lan
2.59% (2006)

Iran Top of Page
mM

Iran protests Afghanistan's limiting flow of dammed tributaries to the Helmand
River in periods of drought; Iraq's lack of a maritime boundary with Iran prompts
jurisdiction disputes beyond the mouth of the Shatt al Arab in the Persian Gulf:
Iran and UAE dispute Tunb Islands and Abu Musa Island. which are occupied by
Iran; Iran stands alone among littoral states in insisting upon a division of the
Caspian Sea into five equal sectors

CO
refugees (country of origin): 662,355 (Afghanistan). 54.000 (Iraq) (2006)

CO Ey)

current situation: Iran is a source. transit, and destination country for women and
girls trafficked for the purposes of sexual exploitation and involuntary servitude:
according to foreign observers, women and girls are trafficked to Pakistan,
Turkey, the Persian Gulf, and Europe for sexual exploitation, while boys from
Bangladesh, Pakistan, and Afghanistan are trafficked through Iran en route to
Persian Gulf states where they are ultimately forced to work as camel jockeys,
beggars. or laborers; Afghan women and girls are trafficked to the country for
forced marriages and sexual exploitation: women and children are also trafficked
internally for the purposes of forced marriage. sexual exploitation, and
involuntary servitude

tier rating: Tier 3 - Iran is downgraded to Tier 3 after persistent. credible reports
of Iranian authorities punishing victims of trafficking with beatings.
imprisonment, and execution

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CIA - The WorldFagebaaks-rhxa180030-JSW Document 26-6 Filed 05/01/08 Page 16 of 16 Page 15 of 15
illicit drugs: (0)

despite substantial interdiction efforts, Iran remains a key transshipment point for
Southwest Asian heroin to Europe: highest percentage of the population in the
world using opiates: lacks anti-money-laundering laws

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